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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                               11/6/2020



Digilytic International FZE, et al.,

                       Plaintiffs,
                                                                            20-cv-4650 (AJN)
               –v–
                                                                                 ORDER
Alchemy Finance, Inc., et al.,

                       Defendants.



ALISON J. NATHAN, District Judge:

      The initial pretrial conference scheduled for November 6, 2020, is adjourned sine die.


      SO ORDERED.


Dated: November 6, 2020                         __________________________________
       New York, New York                                ALISON J. NATHAN
                                                       United States District Judge
